    Case 4:18-cv-01233         Document 12       Filed on 07/13/18 in TXSD        Page 1 of 2




                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTONDIVISION

TYLER M. BELLIVEAU,

Plaintiff,
                                                               Case No. 4:18-cv-01233
        v.

DIVERSIFIED CONSULTANTS, INC.,

Defendants.

                                   NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that TYLER M. BELLIVEAU (“Plaintiff”), hereby notifies the

Court that the Parties have settled all claims between them in this matter and are in the process of

completing the final closing documents and filing the dismissal. The Parties anticipate this

process to take no more than 45 days. The Parties propose to file a stipulated dismissal, with

prejudice, within 45 days of submission of this Notice of Settlement and pray the Court to stay

all proceedings until that time.



Respectfully submitted this 13th day of July, 2018.

                                                      Respectfully submitted,

                                                      s/ Marwan R. Daher
                                                      Marwan R. Daher, Esq.
                                                      Counsel for Plaintiff
                                                      Admitted in the Southern District of Texas
                                                      Sulaiman Law Group, Ltd.
                                                      2500 South Highland Avenue,
                                                      Lombard, Illinois 60148
                                                      (630) 575-8181 x108 (phone)
                                                      (630) 575-8188 (fax)
                                                      mdaher@sulaimanlaw.com




                                                 1
   Case 4:18-cv-01233           Document 12       Filed on 07/13/18 in TXSD        Page 2 of 2




                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                              s/ Marwan R. Daher_____
                                                              Marwan R. Daher




                                                  2
